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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Criminal Case No.

UNITED STATES OF AMERICA,

        Plaintiff,

v.

1.      CHARLYNA BUTTERWORTH,

        Defendant.


     ORDER TO RESTRICT COMPLAINT AFFIDAVIT AND MOTION TO RESTRICT


        Upon the motion of the United States of America, and for good cause shown, it is

ORDERED as follows:

        Upon unsealing of this case, restriction of the Complaint Affidavit and this Motion to

        Restrict at Level 1 is appropriate for good cause shown under D.C.Colo.LCrR 47.1 such

        that the Complaint Affidavit as well as this Motion to Restrict, are restricted at Level 1

        until further order of the Court;

        IT IS SO ORDERED on this 10th day of January, 2024.


                                              BY THE COURT:



                                              HON. SUSAN PROSE
                                              UNITED STATES MAGISTRATE JUDGE
                                              DISTRICT OF COLORADO
